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 6
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 7

 8                               UNITED STATES DISTRICT COURT

 9                              NORTHERN DISTRICT OF CALIFORNIA
10

11    STEPHANIE SMARGISSO, Individually and
      as successor-in-interest to Decedent WILLIAM     Case No. 3:23-cv-01414-RFL
12    ANKIEL JR., and WILLIAM ANKIEL III,
      MARY BEECHLER, and ANNAMARIE
13    BRANDENBURGER, Individually,                     [PROPOSED] ORDER GRANTING
14                                                     PLAINTIFFS’ MOTION FOR
                                    Plaintiffs,        SUMMARY ADJUDICATION AS TO
15                   vs.                               DEFENDANT REDCO
                                                       CORPORATION F/K/A CRANE CO.’S
16   AIR & LIQUID SYSTEMS CORPORATION,                 AFFIRMATIVE DEFENSES
     et al.
17
                                                       Date:        August 6, 2024
18                                  Defendants.        Time:        10:00 a.m.
                                                       Location: San Francisco Courthouse,
19                                                     Courtroom 15, 18th Floor, 450 Golden Gate
                                                       Ave., San Francisco, CA 94102
20
                                                        Action Filed:      March 24, 2023
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                                                        Trial Date:        October 28, 2024
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     [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR SUMMARY ADJUDICATION AS TO DEFENDANT REDCO
                          CORPORATION F/K/A CRANE CO.’S AFFIRMATIVE DEFENSES
           Case 3:23-cv-01414-RFL Document 132-6 Filed 07/02/24 Page 2 of 3


 1          Having considered all papers, evidence, and argument of counsel, and finding that Plaintiffs’

 2   Motion for Summary Adjudication is GRANTED.

 3          THEREFORE, IT IS SO ORDERED that REDCO CORPORATION F/K/A CRANE CO.’S

 4   third (3rd), seventeenth (17th) and forty-sixth (46th) affirmative defenses, are dismissed.

 5

 6          IT IS SO ORDERED.

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 9   Dated:______________                                    By:_____________________________
                                                                  Hon. Rita F. Lin
10                                                                United States Magistrate Judge
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     [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR SUMMARY ADJUDICATION AS TO DEFENDANT REDCO
                          CORPORATION F/K/A CRANE CO.’S AFFIRMATIVE DEFENSES
          Case 3:23-cv-01414-RFL Document 132-6 Filed 07/02/24 Page 3 of 3


 1                                     CERTIFICATE OF SERVICE

 2         I declare that I am over the age of 18, not a party to the above-entitled action, and am an
     employee of Frost Law Firm, PC whose business address is 273 West 7th Street, San Pedro, CA 90731.
 3

 4          On July 2, 2024, I served the following document(s) in the following manner(s):

 5           [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR SUMMARY
        ADJUDICATION AS TO DEFENDANT REDCO CORPORATION F/K/A CRANE CO.’S
 6                             AFFIRMATIVE DEFENSES
     on the following:
 7

 8                                    ALL COUNSEL OF RECORD

 9          (By CM/ECF) By transmitting electronically via CM/ECF the document(s) listed above as set
            forth on the electronic service list on this date before 11:59 p.m.
10
            (By E-Service). I electronically served the documents(s) via File & ServeXpress on the
11
            recipients designated on the Transaction Receipt located on the File & ServeXpress website.
12
             (By E-mail) On this date, the above-referenced documents were converted to electronic files
13          and e-mailed to the addresses shown.

14          (Federal) I declare that I am employed in the office of a member of the Bar of this Court at
            whose direction the service was made.
15

16          Executed: July 2, 2024.

17                                                           /s/ Deborah Rowe
                                                         An Employee of Frost Law Firm, PC
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                                           CERTIFICATE OF SERVICE
